Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 1 of 40




    COMPOSITE
      EXHIBIT 1
  (Filed Under Seal)
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 2 of 40

                                                                      1


                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF NEW YORK

                                        CASE: 15-cv-07433-RWS

     VIRGINIA GIUFFRE,

                Plaintiff,

     v.

     GHISLAINE MAXWELL,

             Defendant.
     ____________________/

                    VIDEOTAPED DEPOSITION OF TONY FIGUEROA

                                    Volume 1 of 2

                                    Pages 1 - 157



                    Taken at the Instance of the Defendant



          DATE:             Friday, June 24, 2016

          TIME:             Commenced:     8:59 a.m.
                            Concluded:     1:22 p.m.
          PLACE:            Southern Reporting Company
                            B. Paul Katz Professional Center
                            (SunTrust Building)
                            One Florida Park Drive South
                            Suite 214
                            Palm Coast, Florida 32137

          REPORTED BY:      LEANNE W. FITZGERALD, FPR
                            Florida Professional Reporter
                            Court Reporter and Notary Public


                         Southern Reporting Company
                   www.Southernreporting.com - (386)257-3663
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 3 of 40

                                                                      96
 1              Q      I guess my question is:         Did she ever tell
 2        you that she had started as a regular masseuse for
 3        him and then transitioned to something other than a
 4        masseuse?
 5              A      No.    She never said that it transitioned.
 6        But she ended up explaining to me what had happened
 7        before, so...
 8              Q      What has -- what is that?
 9              A      That her and Ms. Maxwell and Jeffrey would
10        obviously be doing stuff, all three of them
11        together.     Like I said, that they would all go out
12        to clubs to pick up girls and try and find them to
13        bring back for Jeffrey.         And then she told me about
14        how, like I said, her and Ms. Maxwell and Jeffrey
15        were all intimate together on multiple occasions.
16              Q      When did she tell you this?
17              A      I'm not exactly sure on the dates.
18              Q      Was it while you were still together?
19              A      Yes.
20              Q      Did you -- had you met Ms. Maxwell?
21              A      Yeah, I had met her a couple of times.
22              Q      When did you meet Ms. Maxwell?
23              A      Dates, I'm unsure of.         But it was pretty
24        much, like I said, at Jeffrey's house in the
25        kitchen.

                    Southern Reporting Company
            www.Southernreporting.com - (386)257-3663
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 4 of 40

                                                                      97
 1               Q     Was it earlier in the time you were with
 2        her, or...
 3               A     It was about -- I'd say about six months
 4        or so.     I don't know.      I'm not exactly positive.
 5               Q     All right.     So at the time you met
 6        Ms. Maxwell, had Ms. Roberts already told you that
 7        she had been intimate?
 8               A     No.   She had told me about that, I
 9        believe, after I had max- -- after I had already met
10        her.
11               Q     Okay.    And tell me everything that you
12        remember about what Ms. Roberts said about being
13        intimate with Ms. Maxwell and Mr. Epstein at the
14        same time.
15               A     I remember her talking about, like,
16        strap-ons and stuff like that.           But, I mean, like I
17        said, all the details are not really that clear.
18        But I remember her talking about, like, how they
19        would always be using and stuff like that.
20               Q     She and Ms. Maxwell and Mr Epstein would
21        used strap-ons?
22               A     Uh-huh (affirmative).
23               Q     How did you feel about that?
24               A     I just -- obviously not happy about it.
25               Q     What did you say?

                    Southern Reporting Company
            www.Southernreporting.com - (386)257-3663
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 5 of 40

                                                                        103
 1              A      I did not.
 2              Q      When the FBI interviewed you, did you
 3        mention this to them?
 4              A      I mentioned -- anything they asked me, I
 5        did not hold anything back.
 6              Q      Okay.    Do you recall specifically talking
 7        about sex with the Prince?
 8              A      I -- I don't recall talking to them about
 9        that, but, I mean, it's -- it could be possible.
10              Q      Other than sex with the Prince, is there
11        anyone else that Jeffrey wanted Ms. Roberts to have
12        sex with that she relayed to you?
13              A      Mainly, like I said, just Ms. Maxwell and
14        all the other girls.
15              Q      Ms. Maxwell wanted -- Jeffrey wanted
16        Virginia to have sex with Ms. Maxwell?
17              A      And him, yeah.
18              Q      And did she tell you whether she had ever
19        done that?
20              A      Yeah.    She said that she did.
21              Q      And when did she tell you that?
22              A      I'm not sure on the date.
23              Q      And what did she describe having happened?
24              A      I believe I already told you that.             With
25        the strap-ons and dildos and everything.

                    Southern Reporting Company
            www.Southernreporting.com - (386)257-3663
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 6 of 40

                                                                      200
 1                     MS. MENNINGER:       Objection.     Form.
 2              Foundation.
 3              A      For Jeffrey.
 4        BY MR. EDWARDS:
 5              Q      All right.     Let me fix this.        Ghislaine --
 6        when Ghislaine Maxwell would call you during the
 7        time that you were living with Virginia, she would
 8        ask you what, specifically?
 9                     MS. MENNINGER:       Objection.     Form.
10              Foundation.
11              A      Just if I had found any other girls just
12        to bring to Jeffrey.
13        BY MR. EDWARDS:
14              Q      Okay.
15              A      Pretty much every time there was a
16        conversation with any of them, it was either asking
17        Virginia where she was at, or asking her to get
18        girls, or asking me to get girls.
19              Q      All right.     Let's go to that second
20        category you just identified, which is asking
21        Virginia to get girls.         How many times were you in a
22        room where specifically Ghislaine Maxwell would ask
23        Virginia to bring girls?
24              A      None that I can recall.
25              Q      Okay.    How many times -- when you say they

                    Southern Reporting Company
            www.Southernreporting.com - (386)257-3663
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 7 of 40


                                                                      Page 1
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


                        CASE NO. 15-CV-07433-RWS


      ------------------------------------------x
      VIRGINIA L. GIUFFRE,


                                     Plaintiff,
      v.
      GHISLAINE MAXWELL,
                                     Defendant.


      -------------------------------------------x


                                     May 18, 2016
                                     9:04 a.m.


                      C O N F I D E N T I A L
             Deposition of JOHANNA SJOBERG, pursuant
             to notice, taken by Plaintiff, at the
             offices of Boies Schiller & Flexner, 401
             Las Olas Boulevard, Fort Lauderdale, Florida,
             before Kelli Ann Willis, a Registered
             Professional Reporter, Certified Realtime
             Reporter and Notary Public within and
             for the State of Florida.
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 8 of 40


                                                                      Page 8
 1           Q.    Okay.    Great.
 2                 All right.     Do you know a female by the
 3    name of Ghislaine Maxwell?
 4           A.    Yes.
 5           Q.    And when did you first meet Ms. Maxwell?
 6           A.    2001.    March probably.       End of
 7    February/beginning of March.
 8           Q.    And how did you meet her?
 9           A.    She approached me while I was on campus at
10    Palm Beach Atlantic College.
11           Q.    And what happened when she approached you?
12           A.    She asked me if I could tell her how to
13    find someone that would come and work at her house.
14    She wanted to know if there was, like, a bulletin
15    board or something that she could post, that she was
16    looking for someone to hire.
17           Q.    And what did you discuss with her?
18           A.    I told her where she could go to -- you
19    know, to put up a listing.          And then she asked me if
20    I knew anyone that would be interested in working
21    for her.
22           Q.    Did she describe what that work was going
23    to be?
24           A.    She explained that she lived in Palm Beach
25    and didn't want butlers because they're too stuffy.
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 9 of 40


                                                                      Page 9
 1    And so she just liked to hire girls to work at the
 2    house, answer phones, get drinks, do the job a
 3    butler would do.
 4           Q.    And did she tell you what she would pay
 5    for that kind of a job?
 6           A.    At that moment, no, but later in the day,
 7    yes.
 8           Q.    And what did she say?
 9           A.    Twenty dollars an hour.
10           Q.    Was there anybody else with Ms. Maxwell
11    when you met her?
12           A.    There was another woman with her.           I don't
13    recall her or what she looks like or how old she
14    was.
15           Q.    And what happened next?
16           A.    And then she asked me if I would be
17    interested in working for her.           And she told me that
18    she was -- I could trust her and that I could jump
19    in her car and go check out the house at that moment
20    if I wanted.
21                 And so I said, Sure, let's do it, and went
22    to her home with her.
23           Q.    And where was that home?
24           A.    In Palm Beach.
25           Q.    And did she describe that home as being
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 10 of 40


                                                                   Page 13
  1          Q.     And how long did you work in that position
  2    answering phones and doing --
  3          A.     Just that one day.
  4          Q.     Just that one day.
  5                 And did your duties change?
  6          A.     Well, the next time she called me, she
  7    asked me if I wanted to come over and make $100 an
  8    hour rubbing feet.
  9          Q.     And what did you think of that offer?
 10          A.     I thought it was fantastic.
 11          Q.     And did you come over to the house for
 12    that purpose?
 13          A.     Yes.
 14          Q.     And when you came over to the house, was
 15    Maxwell present?
 16          A.     I don't recall.
 17          Q.     And what happened that second time you
 18    came to the house?
 19          A.     At that point, I met Emmy Taylor, and she
 20    took me up to Jeffrey's bathroom and he was present.
 21    And her and I both massaged Jeffrey.            She was
 22    showing me how to massage.
 23                 And then she -- he took -- he got off the
 24    table, she got on the table.          She took off her
 25    clothes, got on the table, and then he was showing
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 11 of 40


                                                                   Page 33
  1                 MS. MENNINGER:      Objection, leading.
  2    BY MS. McCAWLEY:
  3          Q.     Do you believe that from your
  4    observations, Maxwell and Epstein were boyfriend and
  5    girlfriend?
  6          A.     Initially, yes.
  7          Q.     Did Maxwell ever share with you whether it
  8    bothered her that Jeffrey had so many girls around?
  9                 MS. MENNINGER:      Objection, leading,
 10          hearsay.
 11                 THE WITNESS:     No.    Actually, the opposite.
 12    BY MS. McCAWLEY:
 13          Q.     What did she say?
 14          A.     She let me know that she was -- she would
 15    not be able to please him as much as he needed and
 16    that is why there were other girls around.
 17          Q.     Did there ever come a time -- did you ever
 18    take a photography class in school?
 19          A.     Yes.
 20          Q.     And did there ever come a time when
 21    Maxwell offered to buy you a camera?
 22          A.     Yes.
 23                 MS. MENNINGER:      Objection, leading.
 24    BY MS. McCAWLEY:
 25          Q.     Did Maxwell ever offer to buy you a
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 12 of 40


                                                                   Page 34
  1    camera?
  2                 MS. MENNINGER:      Objection, leading.
  3                 THE WITNESS:     Yes.
  4    BY MS. McCAWLEY:
  5          Q.     Was there anything you were supposed to do
  6    in order to get the camera?
  7                 MS. MENNINGER:      Objection, leading.
  8                 THE WITNESS:     I did not know that there
  9          were expectations of me to get the camera until
 10          after.    She had purchased the camera for me,
 11          and I was over there giving Jeffrey a massage.
 12          I did not know that she was in possession of
 13          the camera until later.
 14                 She told me -- called me after I had left
 15          and said, I have the camera for you, but you
 16          cannot receive it yet because you came here and
 17          didn't finish your job and I had to finish it
 18          for you.
 19    BY MS. McCAWLEY:
 20          Q.     And did you -- what did you understand her
 21    to mean?
 22          A.     She was implying that I did not get
 23    Jeffrey off, and so she had to do it.
 24          Q.     And when you say "get Jeffrey off," do you
 25    mean bring him to orgasm?
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 13 of 40


                                                                   Page 35
  1            A.    Yes.
  2            Q.    Did Ghislaine ever describe to you what
  3    types of girls Jeffrey liked?
  4            A.    Model types.
  5            Q.    Did Ghislaine ever talk to you about how
  6    you should act around Jeffrey?
  7            A.    She just had a conversation with me that I
  8    should always act grateful.
  9            Q.    Did Jeffrey ever tell you that he took a
 10    girl's virginity?
 11          A.     He did not tell me.       He told a friend of
 12    mine.
 13          Q.     And what do you recall about that?
 14                 MS. MENNINGER:      Objection, hearsay,
 15          foundation.
 16                 THE WITNESS:     He wanted to have a friend
 17          of mine come out who was cardio-kickboxer
 18          instructor.      She was a physical trainer.
 19                 And so I brought her over to the house,
 20          and he told my friend Rachel that -- he said,
 21          You see that girl over there laying by the
 22          pool?    She was 19.      And he said, I just took
 23          her virginity.       And my friend Rachel was
 24          mortified.
 25
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 14 of 40


                                                                  Page 142
  1    exposed her bra, and she grabbed it and pulled it
  2    down.
  3          Q.     Anything else?
  4          A.     That was the conversation that he had told
  5    her that he had taken this girl's virginity, the
  6    girl by the pool.
  7          Q.     Okay.   Did Maxwell ever say to you that it
  8    takes the pressure off of her to have other girls
  9    around?
 10          A.     She implied that, yes.
 11          Q.     In what way?
 12          A.     Sexually.
 13          Q.     And earlier Laura asked you, I believe, if
 14    Maxwell ever asked you to perform any sexual acts,
 15    and I believe your testimony was no, but then you
 16    also previously stated that during the camera
 17    incident that Maxwell had talked to you about not
 18    finishing the job.
 19                 Did you understand "not finishing the job"
 20    meaning bringing Jeffrey to orgasm?
 21                 MS. MENNINGER:      Objection, leading, form.
 22    BY MS. McCAWLEY:
 23          Q.     I'm sorry, Johanna, let me correct that
 24    question.
 25                 What did you understand Maxwell to mean
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 15 of 40


                                                                  Page 143
  1    when she said you hadn't finished the job, with
  2    respect to the camera?
  3                 MS. MENNINGER:      Objection, leading, form.
  4                 THE WITNESS:     She implied that I had not
  5          brought him to orgasm.
  6    BY MS. McCAWLEY:
  7          Q.     So is it fair to say that Maxwell expected
  8    you to perform sexual acts when you were massaging
  9    Jeffrey?
 10                 MS. MENNINGER:      Objection, leading, form,
 11          foundation.
 12                 THE WITNESS:     I can answer?
 13                 Yes, I took that conversation to mean that
 14          is what was expected of me.
 15    BY MS. McCAWLEY:
 16          Q.     And then you mentioned, I believe, when
 17    you were testifying earlier that Jeffrey told you a
 18    story about sex on the plane.          What was that about?
 19                 MS. MENNINGER:      Objection, hearsay.
 20                 THE WITNESS:     He told me one time Emmy was
 21          sleeping on the plane, and they were getting
 22          ready to land.       And he went and woke her up,
 23          and she thought that meant he wanted a blow
 24          job, so she started to unzip his pants, and he
 25          said, No, no, no, you just have to be awake for
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 16 of 40


                                                                       Page 1


       UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
       - - - - - - - - - - - - - - - - - - - - x
       VIRGINIA L. GIUFFRE,

                     Plaintiff,
                                                  Case No.:
             -against-                            15-cv-07433-RWS

       GHISLAINE MAXWELL,

                     Defendant.

       - - - - - - - - - - - - - - - - - - - - x

                               **CONFIDENTIAL**

                    Videotaped deposition of RINALDO
              RIZZO, taken pursuant to subpoena, was
              held at the law offices of Boies
              Schiller & Flexner, 333 Main Street,
              Armonk, New York, commencing June 10,
              2016, 10:06 a.m., on the above date,
              before Leslie Fagin, a Court Reporter
              and Notary Public in the State of New
              York.
                              - - -
                    MAGNA LEGAL SERVICES
               1200 Avenue of the Americas
                New York, New York 10026
                       (866) 624-6221
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 17 of 40


                                                                   Page 52
  1                 R. Rizzo - Confidential
  2            Q.      Did you learn whether your
  3    perception was correct?
  4                    MR. PAGLIUCA:       Same objection.
  5            A.      It was younger.       Yes, I did.
  6            Q.      How old was this girl?
  7            A.      15 years old.
  8            Q.      What happens next when Ghislaine
  9    Maxwell and Jeffrey Epstein and a 15-year-old
 10    girl walk into Eva Anderson's home?
 11                    MR. PAGLIUCA:       Object to the form.
 12            Foundation.
 13            A.      They proceed into the dining room
 14    area, which is across from the living room
 15    area.        I go into the kitchen and I hear a
 16    conversation start.           Very muffled, I could
 17    not hear any particulars about the
 18    conversation whatsoever.
 19                    My wife and I are in the kitchen
 20    preparing the evening meal.              Eva brings the
 21    young girl into the kitchen.               In the kitchen,
 22    there is an island with three barstools.                    Eva
 23    instructs the young girl to sit to the
 24    furthest barstool on the right.
 25            Q.      Describe for me what the girl
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 18 of 40


                                                                   Page 53
  1                 R. Rizzo - Confidential
  2    looked like, including her demeanor and
  3    anything else you remember about her when she
  4    walks into the kitchen.
  5            A.      Very attractive, beautiful young
  6    girl.        Makeup, very put together, casual
  7    dress.        But she seemed to be upset, maybe
  8    distraught, and she was shaking, and as she
  9    sat down, she sat down and sat in the stool
 10    exactly the way the girls that I mentioned to
 11    you sat at Jeffrey's house, with no
 12    expression and with their head down.                  But we
 13    could tell that she was very nervous.
 14            Q.      What do you mean by distraught and
 15    shaking, what do you mean by that?
 16            A.      Shaking, I mean literally
 17    quivering.
 18            Q.      What happens next?
 19            A.      We were, again, the absurdity,
 20    never introduced.          Like you would walk into a
 21    room and say this is -- so my wife and I are
 22    in the kitchen and this young girl is sitting
 23    there.        It was a very uncomfortable moment.
 24    I look at my wife.          And so I want to ease the
 25    moment, and so I introduced myself and I
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 19 of 40


                                                                     Page 54
  1                R. Rizzo - Confidential
  2    introduced my wife, and she doesn't really
  3    respond.
  4                   And I asked her, are you okay?                 And
  5    she doesn't really respond.              Nothing verbal,
  6    no cues, her head is still down.                I ask her
  7    if she would like some water, tissue,
  8    anything, and she basically doesn't respond.
  9           Q.      You ask her for a tissue?
 10           A.      If she would like a tissue or some
 11    water at the time.
 12           Q.      Was she crying at the time?
 13           A.      My perception, she was on the verge
 14    of crying.       And I'm trying to loosen the
 15    situation every way I know how, so the only
 16    way I knew how, and I thought maybe this will
 17    comfort her, I said oh, by the way, do you
 18    work for Jeffrey.
 19                   And she says that, I guess kind of
 20    made her feel comfortable, because maybe it
 21    was that comment or my persistence, and she
 22    said yes.       So I said, what do you do?              And
 23    she says I'm Jeffrey's executive assistant,
 24    personal assistant.           Which, from looking at
 25    her, just didn't seem to suit.
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 20 of 40


                                                                     Page 55
  1                R. Rizzo - Confidential
  2                   And I blurted out:          You're his
  3    executive personal assistant?               What do you
  4    do?    And she says I was hired as his
  5    executive personal assistant.               I schedule his
  6    appointments.
  7                   And I'm shocked, and I blurt out:
  8    You seem quite young, how did you get a job?
  9    How old are you?          And she says to me, point
 10    blank:       I'm 15 years old.
 11                   And I said to her:          You're 15 years
 12    old and you have a position like that?                   At
 13    that point she just breaks down hysterically,
 14    so I feel like I just said something wrong,
 15    and she will not stop crying.               My wife and I
 16    were at a loss for words, and I keep on
 17    trying to console her, and nothing I was
 18    saying, are you all right, do you need a
 19    tissue, do you need water, consoles her.
 20                   And then in a state of shock, she
 21    just lets it rip, and what she told me was
 22    just unbelievable.
 23           Q.      What did she say?
 24                   MR. PAGLIUCA:        Object to the form
 25           and foundation.
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 21 of 40


                                                                   Page 56
  1                 R. Rizzo - Confidential
  2            A.      She proceeds to tell my wife and I
  3    that, and this is not -- this is blurting
  4    out, not a conversation like I'm having a
  5    casual conversation.           That quickly, I was on
  6    an island, I was on the island and there was
  7    Ghislaine, there was Sarah, she said they
  8    asked me for sex, I said no.
  9                    And she is just rambling, and I'm
 10    like what, and she said -- I asked her, I
 11    said what?        And she says yes, I was on the
 12    island, I don't know how I got from the
 13    island to here.         Last afternoon or in the
 14    afternoon I was on the island and now I'm
 15    here.        And I said do you have a -- this is
 16    not making any sense to me, and I said this
 17    is nuts, do you have a passport, do you have
 18    a phone?
 19                    And she says no, and she says
 20    Ghislaine took my passport.              And I said what,
 21    and she says Sarah took her passport and her
 22    phone and gave it to Ghislaine Maxwell, and
 23    at that point she said that she was
 24    threatened.        And I said threatened, she says
 25    yes, I was threatened by Ghislaine not to
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 22 of 40


                                                                   Page 57
  1                 R. Rizzo - Confidential
  2    discuss this.
  3                    And I'm just shocked.          So the
  4    conversation, and she is just rambling on and
  5    on, again, like I said, how she got here, she
  6    doesn't know how she got here.                Again, I
  7    asked her, did you contact your parents and
  8    she says no.
  9                    At that point, she says I'm not
 10    supposed to talk about this.               I said, but I
 11    said:        How did you get here.         I don't
 12    understand.        We were totally lost for words.
 13                    And she said that before she got
 14    there, she was threatened again by Jeffrey
 15    and Ghislaine not to talk about what I had
 16    mentioned earlier, about -- again, the word
 17    she used was sex.
 18            Q.      And during this time that you're
 19    saying she is rambling, is her demeanor
 20    continues to be what you described it?
 21            A.      Yes.
 22            Q.      Was she in fear?
 23            A.      Yes.
 24                    MR. PAGLIUCA:       Object to the form
 25            and foundation.
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 23 of 40


                                                                   Page 58
  1                R. Rizzo - Confidential
  2           Q.      You could tell?
  3           A.      Yes.
  4                   MR. PAGLIUCA:        Same objection.
  5           A.      She was shaking uncontrollably.
  6           Q.      What happens with this 15-year-old
  7    girl next?
  8                   MR. PAGLIUCA:        Object to the form
  9           and foundation.
 10           A.      As she is trying to explain, and
 11    I'm asking questions because I'm as feared as
 12    she is at this point.            We hear people
 13    approach and she just shuts up.
 14           Q.      What happens next?
 15           A.      Eva comes in and tells her that she
 16    will be working for Eva in the city.
 17           Q.      As what?
 18           A.      As a nanny.
 19           Q.      Did you see this girl again?
 20           A.      Yes.
 21           Q.      And when?
 22           A.      On a flight maybe a month or so to
 23    Sweden.
 24           Q.      What was the purpose of the flight?
 25           A.      We were going to Sweden for the
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 24 of 40


                                                                   Page 59
  1                R. Rizzo - Confidential
  2    summer.
  3           Q.      Who was on the flight?
  4           A.      The Dubin family.
  5           Q.      As well as this girl?
  6           A.      Yes.
  7           Q.      What happens?
  8           A.      One thing that I forgot to mention
  9    is during our initial conversation, I asked
 10    her what her name was                she said her name
 11    was              .
 12           Q.      What happened with                    ?
 13           A.      We flew to Sweden, we stopped at an
 14    airport that we didn't usually stop at and
 15    she got off the plane.
 16           Q.      Just so that I make sure I
 17    understand, who it was that she says asked
 18    her for sex on the island, who was that?
 19                   MR. PAGLIUCA:        Object to the form.
 20           Foundation.
 21           A.      She didn't specify who asked for
 22    sex.    She said that they asked for sex.
 23    Immediately after that she put Ghislaine and
 24    Sarah into the conversation.
 25           Q.      Taking her passport?
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 25 of 40


                                                                   Page 60
  1                R. Rizzo - Confidential
  2           A.      Yes.
  3           Q.      From -- are there any other
  4    incidents or occurrences that you observed
  5    personally with Jeffrey Epstein and Ghislaine
  6    Maxwell?
  7                   MR. PAGLIUCA:        Object to the form
  8           and foundation.
  9           A.      Not that I can recall.
 10           Q.      This last event that you described,
 11    what's the timeframe when that occurred?
 12           A.      Late 2004, 2005.
 13           Q.      When did you resign your employment
 14    from the Dubin family?
 15           A.      I think roughly October.
 16           Q.      Of what year?
 17           A.      2005.
 18           Q.      Why?
 19           A.      My wife and I had discussed these
 20    incidents, and this last one was just, we
 21    couldn't deal with it.
 22           Q.      When you left your employment with
 23    the Dubin family, did you have a job?
 24           A.      When we finally left, I stayed on
 25    three months after my resignation, I had a
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 26 of 40


                                                                       Page 1


                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


                         CASE NO. 15-CV-07433-RWS


       ------------------------------------------x
       VIRGINIA L. GIUFFRE,


                                     Plaintiff,
       v.
       GHISLAINE MAXWELL,
                                     Defendant.


       -------------------------------------------x


                                     June 1, 2016
                                     9:12 a.m.


                         C O N F I D E N T I A L
             Deposition of JOHN ALESSI, pursuant
             to notice, taken by Plaintiff, at the
             offices of Boies Schiller & Flexner, 401
             Las Olas Boulevard, Fort Lauderdale, Florida,
             before Kelli Ann Willis, a Registered
             Professional Reporter, Certified Realtime
             Reporter and Notary Public within and
             for the State of Florida.
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 27 of 40


                                                                   Page 28
  1                                JOHN ALESSI
  2          Q.     And where did the massage therapists --
  3    where did they come from?
  4          A.     Most, they came from Palm Beach.           Palm
  5    Beach County.
  6          Q.     And over the course of that 10-year period
  7    of time while Ms. Maxwell was at the house, do you
  8    have an approximation as to the number of different
  9    females -- females that you were told were massage
 10    therapists that came to the house?
 11                 MR. PAGLIUSCA:      Object to form and
 12          foundation.
 13                 THE WITNESS:     I cannot give you a number,
 14          but I would say probably over 100 in my stay
 15          there.
 16    BY MR. EDWARDS:
 17          Q.     And many of the times would the females
 18    come only one time and not return?
 19                 MR. PAGLIUSCA:      Object to form and
 20          foundation.
 21    BY MR. EDWARDS:
 22          Q.     Let me ask that a different way.
 23                 Were there times when some of these
 24    females that would come to the house, and you were
 25    told that they were massage therapists, would come
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 28 of 40


                                                                   Page 52
  1                                JOHN ALESSI
  2                 MR. PAGLIUSCA:      Object to form and
  3          foundation.
  4                 THE WITNESS:     Himself.     Himself.
  5    BY MR. EDWARDS:
  6          Q.     And you do not know the ages of the
  7    various massagists, right?
  8          A.     No.
  9          Q.     Did you have occasion to clean up after
 10    the massages?
 11          A.     Yes.
 12          Q.     Okay.   And that is after both a massage
 13    for Jeffrey Epstein, as well as clean up after a
 14    massage that Ghislaine Maxwell may have received?
 15          A.     Yes.
 16          Q.     And on occasion, after -- in cleaning up
 17    after a massage of Jeffrey Epstein or Ghislaine
 18    Maxwell, did you have occasion to find vibrators or
 19    sex toys that would be left out?
 20                 MR. PAGLIUSCA:      Object to form and
 21          foundation.
 22                 THE WITNESS:     Yes, I did.
 23    BY MR. EDWARDS:
 24          Q.     Can you describe the types of vibrators or
 25    sex toys that you found left out after a massage
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 29 of 40


                                                                   Page 53
  1                                JOHN ALESSI
  2    that Jeffrey Epstein had just received or Ghislaine
  3    Maxwell had just received?
  4                 MR. PAGLIUSCA:      Object to form and
  5            foundation.
  6                 THE WITNESS:     It was probably two to three
  7            times, I would say.      It was not all the time.
  8            I would find things like a dildo, it's called a
  9            double.    I hate to say it because these ladies.
 10          But I find these things, put my gloves on, took
 11          it out and rinse it, and put it in
 12          Ms. Maxwell's closet.
 13    BY MR. EDWARDS:
 14          Q.     Why would you put the dildo or sex toy in
 15    Ms. Maxwell's closet?
 16          A.     Because I knew that's where they were
 17    kept.
 18          Q.     How did you know that the sex toys were
 19    kept in Ms. Maxwell's closet?
 20          A.     Because I know where everything was in
 21    that house.       Every single room, every single thing,
 22    it was a place, it was placed by me, by the cleaning
 23    lady or my wife.       Every -- everything that happened
 24    in that house, I knew it.
 25          Q.     Who showed you where the dildo or sex toys
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 30 of 40


                                                                   Page 54
  1                                JOHN ALESSI
  2    were kept in the house the first time?
  3                 MR. PAGLIUSCA:      Object to form and
  4          foundation.
  5                 THE WITNESS:     Nobody.     Nobody show me.
  6    BY MR. EDWARDS:
  7          Q.     You just saw it?
  8          A.     I saw it.
  9          Q.     So you knew where to put it back?
 10          A.     Yeah.   We had to open the closet, clean
 11    the closet, put the clothes in place, put the shoes
 12    in place, put everything in place.            So it was a
 13    matter of tidying things up.
 14          Q.     Did you ever find any costumes?
 15          A.     I saw one shiny black costume, but I
 16    didn't even know --
 17          Q.     Where did you see it?
 18          A.     The same place.
 19          Q.     In Ms. Maxwell's closet?
 20          A.     Yes.
 21          Q.     And where was Ms. Maxwell's closet in the
 22    house?
 23          A.     In the house?      It was in the opposite side
 24    of his bathroom.       It was her bathroom in the master
 25    bedroom.     It was in the middle.        So it was on the
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 31 of 40




                                  GIUFFRE

                                       VS.

                                 MAXWELL
                                    Deposition


                          LYNN TRUDE MILLER

                                    05/24/2016



     _______________________________________________________________________




           Agren Blando Court Reporting & Video, Inc.
                            216 16th Street, Suite 600
                            Denver Colorado, 80202
                                 303-296-0017
                  Agren Blando
     Case 1:15-cv-07433-LAP    Court Reporting
                            Document           & Video,
                                     1199-18 Filed       Inc.Page 32 of 40
                                                   01/27/21

 1            A       Because I wasn't told any different.
 2            Q       Do you know where any -- any source of
 3     that information came from?                Was it Sky?
 4            A       It came from Sky.
 5            Q       Okay.      And what do you recall him telling
 6     you about when Virginia stopped working at
 7     Mar-a-Lago?
 8            A       She was in a discussion with Mrs. Maxwell
 9     to educate her and take her under her wing and be her
10     new momma.      That's what I heard.
11            Q       Okay.      And who told you that?
12            A       Sky.
13            Q       Okay.      And do you remember when Sky told
14     you that?
15            A       I don't remember.
16            Q       Okay.      Did you learn anything else about
17     that, other than what you just said?
18            A       No.
19            Q       Okay.      Do you know where she went to work
20     after Mar-a-Lago?
21            A       I think she went with Mrs. Maxwell.
22            Q       But do you know where, physically?
23            A       Physically, Sky and I dropped her off one
24     day at Mrs. Maxwell's.             I did not speak with
25     Mrs. Maxwell.        I didn't have anything to say to her.

                            LYNN TRUDE MILLER 5/24/2016                      115
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 33 of 40


                                                                       Page 1


                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


                        CASE NO. 15-CV-07433-RWS


       ------------------------------------------x
       VIRGINIA L. GIUFFRE,


                                     Plaintiff,
       v.
       GHISLAINE MAXWELL,
                                     Defendant.


       -------------------------------------------x


                                     June 21, 2016
                                     9:17 a.m.


                        C O N F I D E N T I A L
             Deposition of JOSEPH RECAREY, pursuant
             to notice, taken by Plaintiff, at the
             offices of Boies Schiller & Flexner, 401
             Las Olas Boulevard, Fort Lauderdale, Florida,
             before Kelli Ann Willis, a Registered
             Professional Reporter, Certified Realtime
             Reporter and Notary Public within and
             for the State of Florida.
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 34 of 40


                                                                   Page 29
  1                    JOSEPH RECAREY - CONFIDENTIAL
  2    Ghislane Maxwell?
  3          A.    I wanted to speak with everyone related to
  4    this home, including Ms. Maxwell.           My contact was
  5    through Gus, Attorney Gus Fronstin, at the time, who
  6    initially had told me that he would make everyone
  7    available for an interview.          And subsequent
  8    conversations later, no one was available for
  9    interview and everybody had an attorney, and I was
10     not going to be able to speak with them.
11           Q.    Okay.    During your investigation, what did
12     you learn in terms of Ghislane Maxwell's
13     involvement, if any?
14                 MR. PAGLIUCA:      Object to form and
15           foundation.
16                 THE WITNESS:      Ms. Maxwell, during her
17           research, was found to be Epstein's long-time
18           friend.    During the interviews, Ms. Maxwell was
19           involved in seeking girls to perform massages
20           and work at Epstein's home.
21                 MR. PAGLIUCA:      Object to form and
22           foundation.
23     BY MR. EDWARDS:
24           Q.    Did you interview -- how many girls did
25     you interview that were sought to give or that
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 35 of 40


                                                                   Page 30
  1                    JOSEPH RECAREY - CONFIDENTIAL
  2    actually gave massages at Epstein's home?
  3                MR. PAGLIUCA:      Object to form and
  4          foundation.
  5    BY MR. EDWARDS:
  6          Q.    Approximately.
  7                MR. PAGLIUCA:      Same objection.
  8                THE WITNESS:      I would say approximately
  9          30; 30, 33.
10     BY MR. EDWARDS:
11           Q.    And of the 30, 33 or so girls, how many
12     had massage experience?
13                 MR. PAGLIUCA:      Object to form and
14           foundation.
15                 THE WITNESS:      I believe two of them may
16           have been -- two of them.
17     BY MR. EDWARDS:
18           Q.    Okay.    And as we go through this report,
19     you may remember the names?
20           A.    Correct.     Let me correct myself.         I
21     believe only one had.
22           Q.    And was that -- was that one of similar
23     age to the other girls?
24                 MR. PAGLIUCA:      Object to form and
25           foundation.
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 36 of 40
                               Confidential

                                                                       Page 1

                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

                         CASE NO. 15-CV-07433-RWS



      ------------------------------------------x

      VIRGINIA L. GIUFFRE,



                                        Plaintiff,

      v.

      GHISLAINE MAXWELL,

                                        Defendant.



      -------------------------------------------x



                                        June 3, 2016
                                        9:07 a.m.


                         C O N F I D E N T I A L

             Deposition of DAVID RODGERS, pursuant
             to notice, taken by Plaintiff, at the
             offices of Boies Schiller & Flexner, 401
             Las Olas Boulevard, Fort Lauderdale, Florida,
             before Kelli Ann Willis, a Registered
             Professional Reporter, Certified Realtime
             Reporter and Notary Public within and
             for the State of Florida.
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 37 of 40
                               Confidential

                                                                   Page 18
 1                                DAVID RODGERS

 2   flyer person, then you would reduce it to an

 3   initial?

 4                 MR. PAGLIUCA:       Object to form and

 5          foundation.

 6                 MR. REINHART:       You can answer the

 7          question.

 8                 You can answer the question, if you can

 9          answer the question.          You are allowed to answer

10          the question, if you understand the question.

11   BY MR. EDWARDS:

12          Q.     I'm trying to understand your testimony.

13                 Is it, if you came to know that person --

14          A.     Uh-huh.

15          Q.     -- as a frequent flyer passenger, you

16   would begin to reduce that person's name to an

17   initial at some point?

18                 MR. PAGLIUCA:       Same objection.

19                 THE WITNESS:       Well, we don't really have a

20          frequent flyer program that we do, so to speak.

21          A lot of times I would do it because if you

22          would write out everybody's name there is not

23          enough space, you know, to get everybody's name

24          in that little square there.

25
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 38 of 40
                               Confidential

                                                                   Page 34
 1                                DAVID RODGERS

 2          Q.     -- is that right?

 3                 And is that -- is Ghislaine Maxwell

 4   somebody that through the years 1995 through 2013

 5   was somebody who flew very frequently?

 6          A.     What were the years again?

 7          Q.     The years of this book, 1995 --

 8          A.     I wouldn't say through 2013.             But, yes,

 9   '95 through 2000 sometime.             Probably, I would have

10   to go back and -- well, you can see in there.

11          Q.     We will get to it.

12          A.     There will be a point where you don't see

13   her much.      But to say it went through 2013 would not

14   be accurate.

15          Q.     Let's do it this way:          The person that you

16   have reflected on numerous notations --

17          A.     Yes.

18          Q.     -- through here as GM --

19          A.     Yes.

20          Q.     -- just by the initials, are we able to

21   safely know that that is Ghislaine Maxwell?

22          A.     Yes.

23                 MR. PAGLIUCA:       Object to form and

24          foundation.

25                 MR. EDWARDS:       Court reporter, did you get
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 39 of 40
                               Confidential

                                                                   Page 35
 1                                 DAVID RODGERS

 2           the answer?

 3                 THE REPORTER:        Yes.    The answer came

 4           before the objection.

 5    BY MR. EDWARDS:

 6           Q.    So on the next flight, the next day, from

 7    Palm Beach to SAF.         Is SAF Santa Fe?

 8           A.    Yes.

 9           Q.    And it indicates JE and GM.

10                 Are we able to then know that those

11    passengers on that flight were Jeffrey Epstein and

12    Ghislaine Maxwell?

13           A.    Yes.

14                 MR. PAGLIUCA:        Object to form and

15           foundation.

16    BY MR. EDWARDS:

17           Q.    And where would you land at SAF?               Is that

18    an airport?

19           A.    It is an airport.

20           Q.    Is it a private airport?

21           A.    No.    It's -- airlines go in there.

22           Q.    Did Jeffrey Epstein also have a landing

23    strip at his property in New Mexico?

24           A.    He did at one time.

25           Q.    What would that -- do you remember what
Case 1:15-cv-07433-LAP Document 1199-18 Filed 01/27/21 Page 40 of 40
                               Confidential

                                                                   Page 36
 1                                DAVID RODGERS

 2   that code would be?

 3          A.     I don't believe there was a code.

 4          Q.     All right.      Were there times that you

 5   landed either the Gulfstream or the Boeing --

 6          A.     No.

 7          Q.     No.

 8                 MR. REINHART:       Let him finish the question

 9          before you answer.

10                 THE WITNESS:       Oh, I'm sorry.

11   BY MR. EDWARDS:

12          Q.     Sure.     We are doing fine so far.           But the

13   court reporter is taking down all of our questions

14   and all of our answers.           We are communicating well.

15          A.     Okay.

16          Q.     But when I go to read this back, we may

17   not get that.

18          A.     Okay.     Go ahead.

19          Q.     So were there times where you landed one

20   of Jeffrey Epstein's planes on his private landing

21   strip at the New Mexico property?

22          A.     Yes.    But not the Gulfstream and not the

23   Boeing.

24          Q.     What plane did you land on his property?

25          A.     The Cessna 421.        And probably a
